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                        IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS

GUSTIN C. BROWNLEE,                                   )
                                                      )
                               Plaintiff,             )
                                                      )
v.                                                    )    Case No. 20-cv-03122-JAR-GEB
                                                      )
BRETT CORBY, et al.,                                  )
                                                      )
                               Defendants.            )

            DEFENDANTS CORBY AND MCCOLLOUGH RESPONSE TO PLAINTIFF’S
                FOURTH MOTION FOR EXTENSION OF TIME [DOC. 50]

       COME NOW Defendants Brett Corby and Alex McCollough, and provide the following

Response to Plaintiff’s Fourth Motion Requesting Extension of Time to Respond to Defendants’

Motion to Dismiss [Doc. 50] pursuant to the Court’s Order [Doc. 51]:

       1.      On April 24, 2023, Plaintiff filed his fourth Motion for Extension of Time to

respond to Defendants’ Motion to Dismiss. See Doc. 50.

       2.      Plaintiff alleges in his Motion that due to an incident at the correctional facility he

was taken to segregation and without his legal materials. Therefore, Plaintiff was requesting a 30

day extension. See Doc. 50.

       3.      There is no reference to either Defendants Brett Corby or Alex McCollough in the

Motion for Extension. See Doc. 50.

       4.      In its Order, the Court requested information related to Plaintiff’s access to his legal

materials. See Doc. 51.

       5.      Neither Defendant Corby or Defendant McCollough had any involvement in

Plaintiff’s segregation or his legal materials.

       6.      Based on communications with KDOC personnel by undersigned counsel, it has
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been confirmed that Plaintiff was placed in restrictive housing on or about March 21, 2023. See

Exhibit A, Declaration of Cathy Mitchell.

       7.      Plaintiff’s personal property, including his legal materials, were placed in the

property room on March 21, 2023, and then returned to him in restrictive housing on March 22,

2023. After he was released from restrictive housing, Plaintiff was responsible for packing all his

property to go back with him. See Exhibit A.

       8.      Plaintiff was again moved to restrictive housing on April 19, 2023. His property

was in the property room from April 19, 2023 to April 21, 2023, when it was returned to him when

he returned to general population. See Exhibit A.

       9.      Undersigned counsel also obtained information from the KDOC related to

Plaintiff’s Law Library usage. See Exhibit B, Declaration of Joyce Horsch. Plaintiff has had Law

Library time on the following dates: 1/05/2023; 1/10/2023; 1/23/2023; 1/26/2023; 2/3/2023;

2/8/2023; 2/20/2023; 2/24/2023; 3/9/2023; and 3/14/2023. See Exhibit B.

       10.     As to Plaintiff’s request for additional time, Defendants Corby and McCollough do

not object to a reasonable extension of time for Plaintiff to Respond to Defendants’ pending

Motion to Dismiss [Doc. 38].

       WHEREFORE, Defendants Brett Corby and Alex McCollough do not object to a reasonable

extension of time for Plaintiff to respond to Defendants’ Motion to Dismiss [Doc. 38].

                                                      Respectfully submitted,

                                                       /s/ Tracy M. Hayes
                                                      Tracy M. Hayes        KS #23119
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                                                     t.hayes@swrllp.com
                                                     ATTORNEYS FOR BRETT CORBY
                                                     AND ALEX McCOLLOUGH




                                CERTIFICATE OF SERVICE

        I hereby certify that on the 28th day of April, 2023, the foregoing was filed with the Clerk
of the Court using the CM/ECF system, which will send notice of electronic filing to all counsel
of record. I hereby further certify a copy of the foregoing was sent via U.S. Mail postage prepaid
to the following:

       Gustin C. Brownlee #73693
       EL Dorado Correctional Facility – Central
       PO Box 311
       El Dorado, KS 67042



                                                     /s/ Tracy M. Hayes
                                                     Attorney




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